                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrews Pla=a
                                                     New York, New York 10007


                                                     March 14, 2023

BY EMAIL
The Honorable Katharine H. Parker                    APPLICATION GRANTED

                                                        ~f/P~
Un ited States Magistrate Judge
Southern District of New York
United States Courthouse
500 Pearl Street                                     Hon. Katharine H. Parker, U.S.M.J.
New York, New York 10007                                                            03/14/2023

Re:    United States v. Ho Wan Kwok, a/k/a "Miles Guo," a/k/a "Miles Kwok," a/k/a "Guo
       Wengui," a/k/a "Brother Seven, " a/k/a "The Principal," and Kin Ming Je, a/k/a
       "William Je," 23 Cr. 118

Dear Judge Parker:

         The Government writes to respectfully request that the Court issue a timed unsealing order
that wil l unseal the above-referenced Indictment, 23 Cr. 118. In addition, the Government
respectfully requests that the case be wheeled out to a District Judge, via Wheel C, after it is
unsealed tomorrow, at the Court's earliest avai lab ility . A proposed unsealing order is included
that, if approved, provides that the Indictment w ill be unsealed at 8 a.m., on Wednesday, March
15 , 2023. This tim ing is intended to coincide with the anticipated arrest of defendant Ho Wan
Kwok in Connecticut or New Jersey by the FBI, and defendant Kin Ming Je by law enforcement
partners in London, U.K.

                                             Respectfully submitted,


                                             DAMIAN WILLIAMS
                                             United States Attorney



                                                iana Murray/ Ryan Fi el / Micah Fergenson
                                             Assistant United States Attorney
                                             (212) 637-2314 / -661 2 I -2190
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                        V.
                                                         UNSEALING ORDER
 HO WAN KWOK,
    a/k/a "Miles Guo,"                                   23 Cr. 118
    a/k/a "Miles Kwok,"
    a/k/a "Guo Wengui ,"
    a/k/a "Brother Seven,"
    a/k/a "The Principal,"

 KIN MING JE,
     a/k/a " William Je,"


 Defendants.


          Upon the application of the United States, by the United States Attorney for the Southern

District of New York, DAMIAN WILLIAMS, by Assistant United States Attorney Juliana N .

Murray;

          It is found that the rndictment in the above-captioned case is currently sealed and the

United States Attorney's Office has applied to have the Indictment unsealed; it is therefore

          ORDERED that the Indictment in the above-captioned action be unsealed at 8:00 a.m.

EDT on Wednesday, March 15, 2023, and remain unsealed pending further order of the Court.


Dated:         New York, New York
               March ~, 2023
                                               ~HP~
                                              THE HONORABLE KATHARINE H. PARKER
                                              United States Magistrate Judge
                                              Southern District Of New York
